Case 2:02-Cr-20299-BBD Document 195 Filed 04/21/05 Page 1 of 3 Page|D 174
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UNITED STATES DISTRICT COURT __ _
WESTERN DISTRICT OF TENNESSEE i.-‘".." vi"":"i =."` 5 f'"§`? 5:--' ii`"-i
Western Division

  

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UNITED STATES OF AMERICA

-v- Case No. 2:02cr20299-05-D

TARRA BROWN

 

ORDER SETT|NG
COND|T|ONS OF RELEASE

IT IS ORDERED that the release of the defendant is subject to the following conditions and provisions:

( l) The defendant shall not commit any offense in violation of federai, state or local law while on release in this
case.

(2) The defendantshall immediately advise the court, Pretn`al Services Ofiice, Probation Office, defense counsel
and the U.S. Attomey in writing of any change in address and telephone number.

(3) The defendant shall appear at all proceedings as required and shall surrender for service of any sentence
imposed as directed The defendant shall next appear as notified by the District Couit.

ADDITIONAL COND|T|ONS OF RELEASE

ln order reasonably to assure the appearance of the defendant and the safety of other persons and the
community, it is FURTHER ORDERED that the release of the defendant is subject to the conditions marked below:

l The defendant is released on personal recognizance
Secured Financial Conditions
0 Report as directed by the Probation Office.

0 Other: Defendant shall abide by all conditions of supervised release previously irnposed..

ADV|CE OF PENALTIES AND SANCT|ONS
TO THE DEFENDANT:

YOU ARE ADV|SED OF THE FOLLOW|NG PENALTIES AND SANCT|ONS:

A violation of any of the foregoing conditions of release may result in the immediate issuance of a warrant for
your arrest, a revocation of release, an order of detention, and a prosecution for contempt of court and could result in
a term of imprisonment, a fine, or both.

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Case 2:02-Cr-20299-BBD Document 195 Filed 04/21/05 Page 2 of 3 Page|D 175

The commission of a Federai offense while on pretrial release may result in an additional sentence to a tenn
of imprisonment of not more than ten years, if the offense is a felony; or a term of imprisonment of not more than one
year, if the offense is a misdemeanor. This sentence shall be in addition to any other sentence

Federal law makes it a crime punishable by up to ten years of imprisonment, and a $250,000 fine or both to
obstruct a criminal investigation lt is a crime punishable by up to ten years of imprisonment, and a $250,000 fine or
both to tamper with a witness, victim or inforrnant; to retaliate or attempt to retaliate against a witness, victim or
informant; or to intimidate or attempt to intimidate a witness, victim, juror, informant or officer of the court. The
penalties for tampering, retaliation, or intimidation are significantly more serious if they involve a killing or attempted
killing

If after release, you knowingly fail to appear as required by the conditions of release, or to surrender for the
service of sentence, you may be prosecuted for failing to appear or surrender and additional punishment may be
imposed. If you are convicted of:

(l) an offense punishable by death, life imprisonment, or imprisonment for a term of fifteen years or more, you
shall be fined not more than $250,000 or imprisoned for not more than ten years, or both;
(2) an offense punishable by imprisonment for a tenn of five years or more, but less than fifteen years, you shall

be fined not more than $250,000 or imprisoned not more than five years, or both;
(3) any other felony, you shall be fined not more than $250,000 or imprisoned not more than two years, or both;
(4) a misdemeanor, you shall be fined not more than 3100,000 or imprisoned not more than one year, or both.
A term of imprisonment imposed for failure to appear or surrender shall be in addition to the sentence for any
other offense. ln addition, a failure to appear may result in the forfeiture of any bond posted.

ACKNOWLEDGMENT OF DEFENDANT

l acknowledge that l am the defendant in this case and that I am aware of the conditions of release. l promise
to obey all conditions of release, to appear as directed, and to surrender for service of any sentence imposed. l arn aware

of the penalties and sanctions set forth above.
/£ / Z»/”’_'
/ Signature of Defendant

Tarra L. Brown

455 6 Port Royal Cove
Men'iphis, TN 38125
901 -737-607 6

 

DlRECTlONS TO THE UN|TED STATES MARSHAL

The defendant is ORDERED released after processing

The United States marshal is ORDERED to keep the defendant in custody until notified by the Cierk or
J udicial Officer that the defendant has posted bond and/or complied with all other conditions for release. The
defendant shall be produced before the appropriate judicial officer at the time and place specified, if still iri
custody.

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s. THOMASXNDERSON
UNITED sTATEs MAGISTRATE JUDGE

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Notice of Distribution

This notice confirms a copy of the document docketed as number 195 in
case 2:02-CR-20299 Was distributed by faX, mail, or direct printing on

Apri122, 2005 to the parties listed.

 

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Honorable Bernice Donald
US DISTRICT COURT

